Case 2:20-cv-12470-MCA-MAH Document 215 Filed 03/09/23 Page 1 of 2 PageID: 4202


                                                                               THREE GATEWAY CENTER
     WALSH                                                                     100 Mulberry Street, 15Ih Floor
       PIZZI                                                                   Newark, NJ 07102
    ORE I [LV                                                                 T: 973.757.1100
                                                                              F: 973.757.1090
   FALANGA
                                                                               WALSH. LAW

  Liza M. Walsh
  Direct Dial: (973) 757-1101
  lwals h @wa Ish law
                   .




                                                February 27, 2023

  VIA ECF
  Honorable Madeline Ccx Arlec, U.S.D.J.
  U.S. District Court for the District of New Jersey
  Martin Luther King Jr. Bldg. & U.S. Courthouse
  50 Walnut Street
  Newark, New Jersey 07101

           Re: Alkermes, Inc. v. Teva Pharmaceuticals USA, Inc., et al.
               Civil Action No.: 2:20-cv-1 2470 (MCAIMAH)

  Dear Judge Arleo:

          This firm, together with Sterne, Kessler, Goldstein & Fox P.L.L.C., represents Defendant
  Teva Pharmaceuticals USA, Inc. (“Teva”) in the above-referenced matter. Pursuant to Your
  Honor’s request, we write on behalf of Teva and together with Alkermes (collectively, “the parties”)
  to memorialize the schedule for and related information concerning the submission of post-trial
  briefs and proposed findings of fact (“FOF”) and conclusions of law (“CDL”). Specifically, the
  schedule for post-trial submissions is set forth below:

               •       April 5, 2023 by 6:00 p.m. ET Simultaneous filing of Opening Post-Trial Briefs
                                                       -




                       and Proposed FOF/COL (on all issues);

               •       May 17, 2023 by 6:00 p.m. ET Simultaneous filing of Responsive Post-Trial
                                                           -




                       Briefs (on all issues) and Responsive FOF/COL (including any additional
                       responsive proposed         and CDL; parties need not respond to each proposed
                       FOF   or CCL sub  itted by the o   party in the opening submission); and

               •       Closing A guments    —    on a day to   e set by the Court following post-trial
                       submission  a.r’c.       ( 2L23o.t 2-LiOp. K
          In addition, opening an esponsive post-tria riefs will be limited to 40 pages, double-
  spaced1 in 12-pt. Times New Rom                            portional font. Finally, the parties will submit
  hyperlinked  versions  of  all post-trial  submissions    on a thumb drive within two business days of
  filing. Hyperlinking will include  trial testimony, trial  exhibits, as well as legal authorities.

         The parties respectfully request that Your Honor “So Order” this letter and have it entered
  on the docket.




  WALSH PIZZI ORELLY FALANGA LLP           KTORNEYS AT LAW          NEWARK      NEW YORK          PHLADELPI-[A
Case 2:20-cv-12470-MCA-MAH Document 215 Filed 03/09/23 Page 2 of 2 PageID: 4203


  Honorable Madeline Cox Arleo, U.S.D.J.
  February 27, 2023
  Page 2


          We thank the Court for its ongoing attention and consideration of this submission and are
  available should Your Honor or Your Honor’s staff have any questions or need anything further.



  Respectfully submitted,                             Respectfully submitted,

  W Chan’es M. Lizza                                  s/Liza M. Walsh

  Charles M. Lizza                                    Liza M. Walsh

  Attorneys for A!ke,mes                              Attorneys for Teva

  cc: All Counsel of Record (via E-mail)



  SO ORDERED:



  Hon. Madeline Co      rleo, U.S.D.J.
